                           Case 3:19-cr-00223-MPS Document 95 Filed 11/08/23 Page 1 of 2
LF 245D (03/2019) Judgment in a Criminal Case for Revocations
        Sheet 1



                                UNITED STATES DISTRICT COURT
                                                                District of Connecticut

          UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                                                              (For Revocation of Probation or Supervised Release)
                              v.
                                                                              Case Number:        0205 3:19CR00223-001
                    Nyejire Redmond                                           USM Number: 26477-014

                                                                                   Daniel Murphy Erwin, Assistant Federal Defender
                                                                                               Defendant's Attorney
THE DEFENDANT:
        admitted guilty to violation of condition(s)                                                          of the term of supervision.
    ✔   was found in violation of condition(s) Mandatory #1 & Standard #9                            after denial of guilt.
The defendant is adjudicated guilty of these violations:
Violation Number Nature of Violation                                                                                      Violation Ended
              2               You must not commit another federal, state, or local crime.                                      10/03/2023

                              If you are arrested or questioned by law enforcement, you must notify the probation
              3                                                                                                                10/07/2023
                              officer within 72 hours.


                                                                 Check this box if you require additional space for more violation(s).

      The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.
        The defendant has not violated condition(s)                                   and is discharged as to such violation(s) condition.

       It is ordered that the defendant must notify the United States Attorney for this district within 30 days of
any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and
United States attorney of material changes in economic circumstances.

Defendant's Soc. Sec. No.: Unknown                                                              November 8, 2023
                                                                                          Date of Imposition of Sentence

                                                                          Michael P. Shea Digitally signed by Michael P. Shea
                                                                                          Date: 2023.11.09 10:26:11 -05'00'
                                                                                               Signature of Judge
                                                                                            Honorable Michael P. Shea
                                                                                               U.S. District Judge
                                                                                             Name and Title of Judge

                                                                                                 November 9, 2023
                                                                                                      Date
                           Case 3:19-cr-00223-MPS Document 95 Filed 11/08/23 Page 2 of 2Judgement --Page 2 of 3
LF 245D (Rev. 03/2019) Judgment in a Criminal Case for Revocations
        Sheet 2 -- Imprisonment

DEFENDANT:                   Nyejire Redmond
CASE NUMBER:                 0205 3:19CR00223-001
                                                 IMPRISONMENT
       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a total term of:
10 months.



             The court makes the following recommendations to the Bureau of Prisons:




 ✔         The defendant is remanded to the custody of the United States Marshal.
           The defendant shall surrender to the United States Marshal for this district:
                     at                         on
                    as notified by the United States Marshal.
           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               before 2 p.m. on
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Office.



                                                                     RETURN
I have executed this judgment as follows:




        Defendant delivered on                                          to
at                                                                      with a certified copy of this judgment.


                                                                                    UNITED STATES MARSHAL

                                                                              DEPUTY UNITED STATES MARSHAL
